Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 1 of 32 PageID #: 19427




         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK
         UNITED STATES OF AMERICA,
                                                               MEMORANDUM & ORDER
                       -against-                                  18-CR-204 (NGG)
          KEITH RANIERE
                                    Defendant.


               NICHOLAS G. GARAUFIS, United States District Judge.
               On June 19, 2019, following a six-week trial, a jury convicted
               Defendant Keith Raniere of racketeering, racketeering conspir-
               acy, wire fraud conspiracy, forced labor conspiracy, sex
               trafficking conspiracy, and two counts of sex trafficking. (Jury
               Verdict (Dkt. 735).) On October 27, 2020, this court sentenced
               Raniere principally to a 120-year term of imprisonment. (Stc’g
               Mem. (Dkt. 966) at 18-19.) At that time, the court directed the
               Government to submit any claims of restitution within 90 days.
               (Id. at 20; Tr. of Oct. 27, 2020 Stc’g of Keith Raniere (“Stc’g Tr.”)
               (Dkt. 1002) at 154.)
               On January 27, 2021, the Government provided the court with
               copies of the restitution requests it had received from putative
               victims, a letter setting forth its proposed methodology for eval-
               uating those requests, and its recommendations regarding
               restitution. (See Jan. 27, 2021 Letter re Restitution ( “Gov’t Res-
               titution Ltr.”) (Dkt. 997); Ex. A. to Restitution Ltr. (“Gov’t
               Recommendations”).) In an order dated January 27, 2021, the
               court acknowledged receipt of the Government’s submission and
               indicated that it would award restitution after the Defendant had
               an opportunity to respond. (See Jan. 27, 2021 ECF Order.) Rani-
               ere filed a response on March 23, 2021. (See Raniere Letter in
               Reply to Gov’t’s Request for Restitution (“Raniere Restitution
               Ltr.”) (Dkt. 1018).)




                                                 1
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 2 of 32 PageID #: 19428




               The court has reviewed the parties’ submissions and has made
               certain factual and legal determinations, as set forth below, that
               will guide the terms of its forthcoming restitution order. The
               court has also identified certain issues that warrant further brief-
               ing and, where available, supplemental evidence. Accordingly,
               the court DIRECTS the parties to submit supplemental letter
               briefs, along with any necessary exhibits and affidavits, and for
               the Government to submit a revised set of restitution recommen-
               dations that are consistent with the findings of fact and legal
               conclusions set forth below. 1
                       BACKGROUND
               Raniere was convicted of seven counts of conviction, as follows:
                   •   Count One: Racketeering Conspiracy, in violation of 18
                       U.S.C. §§ 1962(d) and 1963(a). (Presentence Investiga-
                       tion Report (“PSR”) ¶ 2.)
                   •   Count Two: Racketeering, in violation of 18 U.S.C. §§
                       1962(c) and 1963(a). (PSR ¶ 3.)
                   •   Count Six: Conspiracy to provide and obtain forced labor,
                       in violation of 18 U.S.C. § 1594(b). (PSR ¶ 20.)
                   •   Count Seven: Wire Fraud Conspiracy, in violation of 18
                       U.S.C. §§ 1349 and 1343. (PSR ¶ 21.)
                   •   Count Eight: Sex Trafficking Conspiracy, in violation of
                       18 U.S.C. §§ 1594(c) and 1591(b)(1). (PSR ¶ 22.)




               1
                 The court requests that the Government, in making its revised restitution
               recommendations, specify for each recommended award exactly which of
               the claimed losses it regards as compensable, and the amount(s) that it
               recommends awarding in order to compensate for those losses, so that the
               court and Defendant can easily discern how the Government arrived at the
               total figures for each of its recommended awards.




                                                   2
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 3 of 32 PageID #: 19429




                  •   Count Nine: Sex Trafficking of Jane Doe 5, in violation of
                      trafficking of 18 U.S.C. §§ 1591(a)(1), (a)(2), and (b)(1).
                      (PSR ¶ 23.)
                  •   Count Ten: Sex Trafficking of Jane Doe 8, in violation of
                      trafficking of 18 U.S.C. §§ 1591(a) and (b)(1). (PSR ¶
                      24.)
               The two racketeering counts of conviction are predicated on nu-
               merous indictable acts including, inter alia, sexual exploitation of
               a minor, Jane Doe 2; identity theft and conspiracy to commit
               identify theft of multiple individuals (Jane Doe 1, James Lop-
               erfido, Edgar Bronfman, Sr., Jane Doe 3, and Jane Doe 7);
               trafficking and document servitude of Jane Doe 4; and sex traf-
               ficking and forced labor of Jane Doe 5. (PSR ¶¶ 4, 6-7, 9-11,13-
               15, 17-27.) Counts Six, Seven, and Eight concern conspiracies by
               Raniere and his co-defendants to obtain labor, assets, and the
               performance of sexual acts from lower-ranking members of a se-
               cret organization known as “DOS.” (PSR ¶¶ 20-22.) Counts Nine
               and Ten concern the sex trafficking of two individual lower-rank-
               ing DOS members. (PSR ¶¶ 23-24.)
               To date, 100 putative victims have submitted requests for resti-
               tution, including Jane Doe 2, Jane Doe 4, Jane Doe 5, Jane Doe
               8, and James Loperfido, as well as several additional lower-rank-
               ing members of DOS, and many individuals who were not
               affiliated with DOS but who nonetheless claim that they were
               harmed by Raniere and his co-defendants’ criminal conduct. (See
               Gov’t Restitution Ltr.)
                      LEGAL STANDARD
               In evaluating restitution claims, the court recognizes that “the
               Government bears the burden of proving a victim’s actual loss by
               a preponderance of the evidence.” United States v. Finazzo, 850




                                                3
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 4 of 32 PageID #: 19430




               F.3d 94, 117 (2d Cir. 2017). 2 The Second Circuit has “never used
               the term ‘actual’ in this context to mean ‘mathematically precise’”
               or “adopted a one-size-fits-all standard of precision for applica-
               tion in restitution cases.” United States v. Gushlak, 728 F.3d 184,
               195 (2d Cir. 2013). Rather, what is required is “only a reasonable
               approximation of losses supported by a sound methodology.” Id.
               at 196.
               Two statutes relevant to this case provide for mandatory restitu-
               tion for victims of certain crimes. 3 First, the Trafficking Victims
               Protection Act of 2000 (“TVPA”) provides for mandatory restitu-
               tion for “the full amount of the victim’s losses” for crimes
               including forced labor, sex trafficking, and document servitude.
               18 U.S.C. § 1593(b)(1). In Raniere’s case, counts Six (forced la-
               bor conspiracy), Eight (sex trafficking conspiracy), Nine (sex
               trafficking of Jane Doe 5), and Ten (sex trafficking of Jane Doe
               8) are covered offenses that give rise to mandatory restitution
               under the TVPA, as is Racketeering Act Nine (forced labor and
               document servitude of Jane Doe 4). The TVPA defines “victim”
               as “the individual harmed as a result of a crime under this chap-
               ter.” Id. § 1593(c).
               Under the TVPA, victims are entitled to full compensation for
               “any costs incurred, or that are reasonably projected to be in-
               curred in the future, by the victim, as a proximate result of the
               offenses involving the victim,” including, inter alia, “medical ser-
               vices relating to physical, psychiatric, or psychological care,” “lost
               income,” and “reasonable attorneys’ fees.” Id. §§ 1593(b)(3),


               2
                 When quoting cases and unless otherwise noted, all citations and quota-
               tion marks are omitted, and all alterations are adopted.
               3
                 As noted below, the court believes that Jane Doe 2 may be entitled to
               mandatory restitution under an additional statute, the Amy, Vicky, and
               Andy Child Pornography Victim Assistance Act of 2018, and it asks the
               parties to address her eligibility to recover under that statute in their sub-
               sequent letter briefs. See 18 U.S.C. § 2259.




                                                     4
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 5 of 32 PageID #: 19431




               2259(c)(2). A victim’s compensable losses under the TVPA also
               include “the greater of the gross income or value to the defendant
               of the victim’s services or labor or the value of the victim’s labor
               as guaranteed under the minimum wage and overtime guaran-
               tees of the Fair Labor Standards Act.” Id. § 1593(b)(3).
               Second, the Mandatory Victim Restitution Act of 1996 (“MVRA”)
               requires that defendants convicted of certain crimes, including
               crimes of violence or offenses against property that cause a “phys-
               ical injury or pecuniary loss” to “an identifiable victim,” “make
               restitution to the victim of the offense.” 18 U.S.C. § 3663A(a)(1),
               (c). The MVRA applies to certain of Raniere’s crimes of convic-
               tion, including racketeering, racketeering conspiracy, and wire
               fraud conspiracy. (See PSR ¶ 166.)
               The MVRA defines “victim” as “a person directly and proximately
               harmed as a result of the commission of an offense for which
               restitution may be ordered including, in the case of an offense
               that involves as an element a scheme, conspiracy, or pattern of
               criminal activity, any person directly harmed by the defendant’s
               criminal conduct in the course of the scheme, conspiracy, or pat-
               tern.” Id. § 3663A(a)(2). “In restricting its definition of ‘victim’ to
               persons proximately harmed by the defendant’s acts, the MVRA
               aims to limit restitution to those harms that have a sufficiently
               close connection to the conduct at issue.” United States v. Thomp-
               son, 792 F.3d 273, 277 (2d Cir. 2015). Thus, the MVRA’s
               “definition of ‘victim’ governs the calculation of the reimbursable
               loss itself.” Id.
               “[C]ourts have uniformly read [the MVRA] to provide for resti-
               tution payable by all convicted co-conspirators in respect of
               damage suffered by all victims of a conspiracy, regardless of the
               facts underlying counts of conviction in individual prosecutions.”
               United States v. Boyd, 222 F.3d 47, 50 (2d Cir. 2000). However,
               the MVRA “does not authorize the court to order a defendant to
               pay restitution to any person who was not a victim” of an offense




                                                 5
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 6 of 32 PageID #: 19432




               of conviction. United States v. Reifler, 446 F.3d 65, 121 (2d Cir.
               2006). “While the language [in the MVRA’s definition of ‘victim’]
               expands what it is that will give rise to compensable loss when a
               scheme, conspiracy or pattern is involved, the reference point to
               which such conspiracy is tied remains the ‘offense’ of which the
               defendant has been convicted.” In re Local #46 Metallic Lathers
               Union & Reinforcing Iron Workers & Its Associated Benefit & Other
               Funds, 568 F.3d 81, 87 (2d Cir. 2009). In other words, conduct
               committed “in the course of the scheme or conspiracy [may] be
               considered as a basis for determining compensable harm” only if
               the “scheme, conspiracy, or pattern of criminal activity” that en-
               compasses that conduct is an element of the offense of
               conviction. Id.
               Where more than one defendant has contributed to a victim’s
               loss, “the court may make each defendant liable for payment of
               the full amount of restitution or may apportion liability among
               the defendants to reflect the level of contribution to the victim’s
               loss and the economic circumstances of each defendant.” 18
               U.S.C. § 3664(h). If a defendant owes restitution to multiple vic-
               tims, “the court may provide for a different payment schedule for
               each victim” based on the victims’ economic circumstances and
               the nature and extent of their losses. Id. § 3664(i).
                       DISCUSSION
               The Government recommends that the court award restitution to
               25 of the 100 putative victims who submitted claims in connec-
               tion with this case. 4 (See Gov’t Recommendations.) The
               Government identifies 18 of those 25 claimants as victims under
               § 1593 of the TVPA. The other claimants, including the seven to

               4
                 Based on the representations in the Government’s letter of January 27,
               the court includes in this tally Jane Doe 4, for whom the Government has
               not yet formally recommended a specific restitution award because it was
               not able to review her request in connection with its prior submission and
               recommendation. (See Gov’t Restitution Ltr. at 4, 4 n.3.)




                                                   6
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 7 of 32 PageID #: 19433




               whom the Government recommends that restitution be awarded
               and 75 more to whom the Government recommends that no
               award be made, are not identified as victims under the TVPA.
               (Id.) The court considers first which of the claimants are entitled
               to restitution under the TVPA and, for those who are eligible vic-
               tims, which of their losses are recoverable. It then conducts a
               similar analysis with respect to the MVRA.
               A.     Restitution Pursuant to Trafficking Victims Protection
               Act of 2000
               1.     Identification of Relevant Victims
               The TVPA defines “victim” as “the individual harmed as a result
               of a crime under this chapter.” 18 U.S.C. § 1593(c). The Govern-
               ment identifies 18 of the 100 individuals who have submitted
               requests for restitution as victims within the meaning of Section
               1593 of the TVPA.
               Raniere was convicted of two separate counts of sex trafficking,
               in violation of 18 U.S.C. § 1591, pertaining to victims Jane Doe
               5 (“Nicole”) and Jane Doe 8 (“Jay”). Because sex trafficking in
               violation of § 1591 is a covered crime under the TVPA, Jane Doe
               5 and Jane Doe 8 are plainly entitled to restitution under § 1593.
               Additionally, Raniere’s conviction for racketeering was predi-
               cated, in part, on the trafficking for labor and services and
               document servitude of Jane Doe 4 (“Daniela”) – conduct that is
               criminal under 18 U.S.C. §§ 1590 and 1592. The court requests
               that the parties’ supplemental letter briefs address the question
               of whether a victim of a predicate racketeering act that is a cov-
               ered offense under § 1593 is a victim within the meaning of the
               TVPA. Assuming, for now, that victims of covered offenses are
               entitled to restitution under § 1593 even if such offenses were
               not crimes of conviction themselves, but rather were committed
               in furtherance of a racketeering enterprise, the court finds that
               Jane Doe 4 is entitled to restitution under § 1593.




                                               7
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 8 of 32 PageID #: 19434




               Raniere was also convicted of sex trafficking conspiracy and
               forced labor conspiracy, in connection with his role in a scheme
               that used coercive and illegal means to compel lower-ranking
               DOS members to engage in uncompensated labor and sexual ac-
               tivity. Those conspiracy crimes are covered offenses under the
               TVPA. The testimony at Raniere’s trial made clear that lower-
               ranking DOS members (referred to as “slaves”) performed un-
               paid labor and, in some cases, engaged in sexual activity, and
               that they did so at the direction of higher-ranking DOS members
               (“masters”), in response to acute social, financial, and emotional
               pressures designed and imposed by Raniere and his co-conspira-
               tors. In convicting Raniere of these crimes, the jury determined
               that the defendants’ conduct met the elements of federal forced
               labor and sex trafficking offenses. Accordingly, the court finds
               that all lower-ranking DOS members who performed uncompen-
               sated labor and services or who engaged in sexual activity, in
               connection with their membership in DOS and at the direction of
               higher-ranking DOS members, are victims of a covered offense
               under the TVPA and are entitled to restitution under § 1593.
               Thus, in the court’s view, a putative victim is entitled to recover
               under § 1593 if the court finds by a preponderance of the evi-
               dence that: (1) she was a lower-ranking “slave” member of DOS 5
               between February 2016 and June 2017; and (2) in connection
               with her membership in DOS and at the behest of a higher-rank-
               ing DOS “master,” she either performed unpaid labor or services,
               engaged in sexual activity, or both. All restitution claimants who
               meet these criteria are statutorily entitled to recover the full
               amount of their losses under the TVPA.



               5
                 For purposes of this analysis, the court considers DOS members who were
               not “first-line masters,” and who therefore were “slaves” to other female
               “masters” within DOS and not directly to Raniere himself, to be “lower-
               ranking.” (See PSR ¶¶ 84-85.)




                                                  8
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 9 of 32 PageID #: 19435




               a.     Victims Entitled to Restitution Under TVPA
               The court finds, by a preponderance of the evidence, that the fol-
               lowing individuals are victims of sex trafficking offenses, forced
               labor offenses, or both, and that they are therefore entitled to
               restitution under the TVPA.
               Daniela Xxxxxxxxx (“Jane Doe 4,” “Daniela”): As stated
               above, Racketeering Act Nine, which the jury found the Govern-
               ment had proved in support of Count Two, for racketeering,
               charged Raniere with the document servitude and trafficking for
               labor and services of Jane Doe 4. Assuming that victims of pred-
               icate racketeering acts that are covered offenses under § 1593
               may receive restitution under the TVPA, the court finds that Jane
               Doe 4 is a victim within the meaning of that statute.
               Nicole Xxxxxx (“Jane Doe 5,” “Nicole”): As stated above, Ra-
               niere’s conviction on Count Nine concerned his sex trafficking of
               Jane Doe 5. The court therefore finds that she is a victim of a
               qualifying offense under the TVPA.
               Xxxxxxx Xxxx (“Jane Doe 8,” “Jay”): As stated above, Raniere’s
               conviction on Count Ten concerned his sex trafficking of Jane
               Doe 8. The court therefore finds that she is a victim of a qualify-
               ing offense under the TVPA.
               Xxxxxx Xxxxxxxx (“Jane Doe 6,” “Xxxxxx”): According to tes-
               timony at trial, Jane Doe 6 was recruited into DOS by Lauren
               Salzman and served as Salzman’s slave. (Tr. of Keith Raniere
               Trial (“Trial Tr.”) at 1601:19-25, 1722:25-1723:10, 1770:21-
               1771:2.) She submitted “collateral” in connection with her mem-
               bership in DOS, including financial assets and naked
               photographs. (Id. at 1723:21-1724:21.) She was branded on her
               pelvic area with the DOS brand. (Id. at 1753:23-1754:19.) The
               court therefore finds by a preponderance of the evidence that
               Jane Doe 6 was a lower-ranking member of DOS during the rel-
               evant period.




                                               9
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 10 of 32 PageID #:
                                  19436




             Salzman also testified that, in connection with her membership
             in DOS, that Jane Doe 6 sometimes functioned as a “personal
             assistant” for her, but that she preferred for Jane Doe 6 to per-
             form “executive level administrative type work for DOS,” such as
             conducting legal research and reviewing legal contracts. (Id. at
             1673:6-1674:20.) Accordingly, the court also finds by a prepon-
             derance of the evidence that Jane Doe 6 performed
             uncompensated labor and services in connection with her partic-
             ipation in DOS. The court determines that Jane Doe 6 is a victim
             of a qualifying offense under the TVPA.
             Sylvie Xxxxxx (“Sylvie”): Sylvie testified at trial regarding her
             recruitment into DOS and her submission of collateral, including
             naked photographs and a letter with the potential to disrupt close
             family relationships, in connection with her membership. (Id. at
             211:4-20, 213:3-214:15, 215:21-24.) The court finds by a pre-
             ponderance of the evidence that she was a lower-ranking DOS
             member during the relevant period. Sylvie also testified that she
             was assigned by her DOS master to seduce Raniere, and that she
             had sexual contact with Raniere pursuant to that assignment. (Id.
             at 219:13-220:6, 252:6-254:15.) The court therefore finds by a
             preponderance of the evidence that Sylvie engaged in sexual ac-
             tivity in connection with her role in DOS. The court determines
             that Sylvie is a victim of a qualifying offense under the TVPA.
             India Xxxxxxxx (“Additional Jane Doe 7,” “India,” “Addi-
             tional DOS Victim 1”): Multiple trial witnesses identified
             Additional Jane Doe 7 as a member of DOS: a slave who reported
             to Allison Mack and who recruited Jane Doe 8 and served as her
             master. (See id. at 4197:6-10, 4197:16-18, 4267:23-25, 4325:3-
             4328:3, 4333:20-4334:4, 5097:20-21.) The court finds by a pre-
             ponderance of the evidence that Additional Jane Doe 7 was a
             lower-ranking member of DOS during the relevant period.
             Lauren Salzman testified that Allison Mack informed her that she
             expected Additional Jane Doe 7 to begin having sexual contact




                                            10
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 11 of 32 PageID #:
                                  19437




             with Raniere in her capacity as Mack’s slave. (Id. at 1794:1-8.) In
             a March 3, 2016 email exhange, Raniere wrote to Mack to con-
             firm that “[Additional Jane 7] know[s] [that] to complete her
             [sic], she needs to take all of her clothes off while I am clothed,
             pose in the most revealing way, and have me take a picture of
             her with her phone to be immediately sent to you as proof.” (Id.
             at 5099:7-17.) The following day, Raniere wrote to Mack, “Any
             news on [Additional Jane Doe 7]?” and Mack responded that Ad-
             ditional Jane Doe 7 had “changed her flight” would “reach out”
             to Raniere regarding “meeting again to complete the assign-
             ment.” (Id. at 5097:23-5098:13.) According to the PSR, “Mack
             was notified by Raniere that [Additional Jane Doe 7] completed
             the assignment. At a later point, [Additional Jane Doe 7] had
             sexual contact with Raniere. She told Mack that Raniere per-
             formed oral sex on her.” (PSR ¶ 119.)
             Additional Jane Doe 7 gave a victim impact statement at Rani-
             ere’s sentencing in which she described her participation in DOS,
             including being branded, and stated that she was “instructed to
             seduce Keith as a test of [her] loyalty” and engaged in “dozens of
             sexual encounters” with him that she “would never have con-
             sented to” if not for the fear of her DOS collateral being released.
             (Stc’g Tr. at 81:16-22, 82:2-10.)
             In light of testimonial and documentary trial evidence suggesting
             that Raniere and Mack planned to assign Additional Jane Doe 7
             to have sexual interactions with Raniere, the Probation Depart-
             ment’s finding that Additional Jane Doe 7 had sexual contact
             with Raniere, and Additional Jane Doe 7’s own description of
             “dozens” of sexual encounters that would not have occurred ab-
             sent to her participation in DOS, the court finds by a
             preponderance of the evidence that Additional Jane Doe 7 en-
             gaged in sexual activity at the instruction of her DOS master and




                                             11
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 12 of 32 PageID #:
                                  19438




             in connection with her role in DOS. Accordingly, the court deter-
             mines that Additional Jane Doe 7 is a victim of a qualifying
             offense under the TVPA.
             Sarah Edmondson (“Additional Jane Doe 13,” “Sarah,” “Jane
             Doe 11”): At trial, Lauren Salzman testified that she recruited
             Additional Jane Doe 13 into DOS to serve as her slave, and that
             Additional Jane Doe 13 submitted collateral in connection with
             her DOS membership. (Trial Tr. at 1717:24-1721:22.) Addi-
             tional Jane Doe 13 was branded on her pelvic area in connection
             with her membership in DOS. (Id. at 1748:22-1749:17.) The
             court therefore finds by a preponderance of the evidence that Ad-
             ditional Jane Doe 13 was a lower-ranking member of DOS during
             the relevant period.
             At trial, Salzman testified that the concepts of “time and labor”
             were central to DOS in that slaves were expected to make a “full-
             time commitment to be always making [their] master more po-
             tent.” (Id. at 1671:10-23.) She explained that she conveyed to
             her slaves that they “should be seeking to provide the most value
             in the time and labor they’re providing,” and that “labor dedi-
             cated to furthering the master” was a core component of their
             involvement in DOS. (Id. at 1673:1-1674:13, 1671:22-23.) The
             court therefore finds by a preponderance of the evidence, on the
             basis of Salzman’s testimony, that DOS slaves who reported di-
             rectly to Salzman were required to engage in uncompensated
             labor. Thus, even though Salzman did not describe specific as-
             signments that she gave to Additional Jane Doe 13, the court
             finds that Additional Jane Doe 13 is a victim of a qualifying of-
             fense under the TVPA.
             Xxxxxx Xxxxxxx (“Amanda”): Lauren Salzman testified at trial
             that she recruited Amanda into DOS. (Id. at 1732:8-9.) She tes-
             tified that Amanda submitted collateral including sexually
             explicit photographs and material that, if released, could have
             negatively affected her own professional status and her romantic




                                            12
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 13 of 32 PageID #:
                                  19439




             partner’s employment. (Id. at 1732:13-22.) She was branded on
             her pelvic area, on the same day as Lauren Salzman’s other DOS
             slaves. (Id. at 2197:8-15.) The court therefore finds by a prepon-
             derance of the evidence that Amanda was a lower-ranking
             member of DOS during the relevant period.
             In addition to Salzman’s testimony about the centrality of labor
             and a “full-time commitment” to her slaves’ involvement in DOS,
             she specifically testified that she directed her slaves to “review[]
             legal contracts and d[o] legal research.” (Id. at 1671:10-23,
             1674:5-13.) Salzman also testified that Amanda was an attorney,
             and Amanda’s restitution claim lists “[l]egal for Lauren” as a DOS
             assignment to which she devoted 30 hours. (See id. at 1732:10-
             12; Xxxxxx Xxxxxxx Restitution Worksheet.) The court there-
             fore finds by a preponderance of the evidence that Amanda
             engaged in uncompensated labor in connection with her role in
             DOS, and it determines that she is a victim of a qualifying offense
             under the TVPA.
             b.     Putative TVPA Victims Not Entitled to Restitution on the
             Basis of Existing Record
             At this time, the court cannot find by a preponderance of the
             available record evidence that the following individuals were vic-
             tims of forced labor and/or sex trafficking offenses. The court will
             consider sworn testimony submitted by the parties in connection
             with their subsequent letter briefs that relates to these individu-
             als’ eligibility for restitution under the TVPA, including testimony
             that corroborates or disputes facts set forth in the PSR or Victim
             Impact Statements.
             Camila Xxxxxxxxx (“Jane Doe 2,” “Camila”): Trial testimony
             established that Jane Doe 2 was a member of DOS, but as a “first-
             line master” rather than a lower-ranking slave. (Id. at 1509:15-
             23, 1738:3-1739:7.) While she participated in at least one DOS-
             related sexual encounter with Raniere and Jane Doe 5, the testi-
             mony at trial did not establish whether her participation in that




                                             13
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 14 of 32 PageID #:
                                  19440




             encounter was specifically compelled by her involvement with
             DOS. (See PSR ¶ 107.) Nor does the trial testimony establish by
             a preponderance of the evidence that she engaged in uncompen-
             sated labor compelled by her membership in DOS. Accordingly,
             the court lacks sufficient evidence to conclude, at this time, that
             Jane Doe 2 is a statutory victim of Raniere’s forced labor or sex
             trafficking offenses under the TVPA. If presented with unrebut-
             ted sworn testimony describing Jane Doe 2’s performance of
             uncompensated work or participation in a sexual act in connec-
             tion with her role in DOS and at the direction of a higher-ranking
             DOS member to whom she owed obedience, the court would be
             better positioned to determine that Jane Doe 2 is a qualifying
             victim under the TVPA.
             The court also notes that Jane Doe 2 may be entitled to manda-
             tory restitution under 18 U.S.C. § 2259, which provides for full
             restitution for victims of child pornography offenses. Covered of-
             fenses under that statute include 18 U.S.C. § 2252, which the jury
             found that Raniere had violated as a predicate act for his racket-
             eering conviction. (See PSR ¶¶ 2, 8.) The court encourages the
             parties to address the question of Jane Doe 2’s eligibility for res-
             titution under § 2259 in their supplemental letter briefs.
             Xxxxx Xxxxxxxx (“Additional Jane Doe 34,” “Xxxxx,” “Addi-
             tional DOS Victim 3”): Multiple trial witnesses referred in their
             testimony to Additional Jane Doe 34 as a DOS slave who re-
             ported to Additional DOS Victim 2, a DOS slave who served
             under Mack. (See id. at 1865:15-25, 4408:19-4409:7, 5104:11-
             13.) The Government introduced into evidence at trial an email
             from Additional DOS Victim 2 to Mack describing collateral that
             Additional Jane Doe 34 had submitted and the expectation of
             additional forthcoming collateral. (Id. at 5103:18-5104:24.) The
             court therefore finds by a preponderance of the evidence that Ad-
             ditional Jane Doe 34 was a lower-ranking member of DOS during
             the relevant period.




                                             14
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 15 of 32 PageID #:
                                  19441




             The PSR states that Mack and Additional DOS Victim 2 directed
             Additional Jane Doe 34 “to read and edit 100 articles for Raniere
             during a one-month period” and “encouraged [her] to have a
             sexual relationship with Raniere.” (PSR ¶ 121.) Raniere objected
             to this portion of the PSR on the grounds that it was based on the
             accounts of putative victims who had not testified. (Raniere Obj.
             to PSR at 22.) Additional Jane Doe 34 submitted a Victim Impact
             Statement that describes “being groomed to be a sexual partner
             for [Raniere]” and engaging in repeated sexual activity with him.
             (Xxxxx Xxxxxxxx Victim Impact Stmt. at 6-7.) However, because
             the only accounts of Additional Jane Doe 34 engaging in uncom-
             pensated labor or sexual activity are from unsworn sources, the
             court cannot find by a preponderance of the evidence at this time
             that Additional Jane Doe 34 was a victim of forced labor or sex
             trafficking in connection with her role in DOS.
             Xxxxx Xxxxxxxx (“Additional Jane Doe 36,” “Xxxxxxx”): Jane
             Doe 8 testified that she recruited Additional Jane Doe 36 into
             DOS to be her slave, at Mack’s urging and with Mack’s assistance,
             and that she collected collateral from Additional Jane Doe 36.
             (Id. at 4387:3-4388:19, 4390:9-4391:6.) The court therefore
             finds by a preponderance of the evidence that she was a lower-
             ranking member of DOS.
             At trial, the Government published into evidence an email ex-
             change between Additional Jane Doe 36 and Raniere, in which
             they made plans to meet outside at approximately 4:15 a.m. for
             a “walk,” after Raniere asked if she was “available at all hours of
             the night.” (Id. at 5107:9-5109:13.) In a Victim Impact Statement
             submitted to the court, Additional Jane Doe 36 describes how
             Mack groomed her for a sexual relationship with Raniere but im-
             plies that no such relationship was consummated. (Xxxxx
             Xxxxxxxx Victim Impact Stmt. at 1.) Additional Jane Doe 36
             does describe, in her statement, performing uncompensated
             work including data entry as an aspect of her participation in




                                             15
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 16 of 32 PageID #:
                                  19442




             DOS. (Id.) However, because the court does not have sworn tes-
             timony regarding Additional Jane Doe 36’s unpaid labor, it
             cannot at this time find by a preponderance of the evidence that
             she performed such labor.
             Additional Putative Victims: The court also finds that it has in-
             sufficient record evidence, apart from unsworn Victim Impact
             Statements, to corroborate eight additional putative TVPA vic-
             tims’ involvement in DOS or performance of unpaid labor and/or
             sexual acts pursuant to such involvement. Some of these individ-
             uals were not discussed in the trial testimony at all; others were
             mentioned briefly, but the testimony did not establish any details
             of their recruitment into DOS, position in DOS, participation in
             obligatory DOS rituals, or performance of unpaid labor or sexual
             acts in connection with their DOS membership. The individuals
             in question are: (1) Xxxxx Xxxxxxxx (“Additional Jane Doe 8”);
             (2) Xxxxx Xxxxxxxx (“Additional Jane Doe 14”) 6; (3) Xxxxx
             Xxxxxxxx (“Additional Jane Doe 15”); (4) Xxxxx Xxxxxxxx
             (“Additional Jane Doe 25”); (5) Xxxxx Xxxxxxxx (“Additional
             Jane Doe 30”); (6) Xxxxx Xxxxxxxx (“Additional Jane Doe 35”);
             (7) Xxxxx Xxxxxxxx; and (8) Xxxxx Xxxxxxxx.
             2.      Identification of Compensable Losses
             Eligible victims under the TVPA are entitled to mandatory resti-
             tution totaling the “full amount of [their] losses,” including “any
             costs incurred, or that are reasonably projected to be incurred in
             the future, by the victim, as a proximate result of the offenses


             6
               While the Government did not identify Additional Jane Doe 14 as a pu-
             tative TVPA victim, the court notes that her Victim Impact Statement, a
             version of which she read at Raniere’s sentencing, suggests that she was a
             member of DOS and that she had a sexual relationship with Raniere. (See
             Stc’g Tr. at 87:5-88:25.) The court therefore includes her among the puta-
             tive DOS victims who have submitted restitution claims, but for whom the
             court lacks sufficient evidence to find are “victim[s]” within the meaning
             of the TVPA.




                                                16
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 17 of 32 PageID #:
                                  19443




             involving the victim.” 18 U.S.C. §§ 1593(b)(3), 2259(c)(2). Re-
             coverable losses include “medical services relating to physical,
             psychiatric, or psychological care;” “physical and occupational
             therapy or rehabilitation;” “necessary transportation, temporary
             housing, and child care expenses;” “lost income;” “reasonable at-
             torneys’ fees, as well as other costs incurred;” and “any other
             relevant losses incurred by the victim.” Id. § 2259(c)(2). Addi-
             tionally, victims under the TVPA recover “the greater of the gross
             income or value to the defendant of the victim’s services or labor
             or the value of the victim’s labor as guaranteed under the mini-
             mum wage and overtime guarantees of the Fair Labor Standards
             Act.” Id. § 1593(b)(3).
             a.     Medical Services
             With regards to medical care costs, the court agrees with the Gov-
             ernment’s recommendation that losses are compensable only if
             supported by a letter from a licensed or credentialed medical pro-
             vider, counselor, or social worker. (See Gov’t Restitution Ltr. at
             6.) As a general matter, the court finds that the defendants im-
             posed on DOS slaves numerous physical and psychological
             burdens in order to perpetuate sex trafficking and forced labor
             offenses, including sleep deprivation, extreme food deprivation
             and compulsory weight loss, stress and psychological abuse,
             branding, and unwelcome sexual activity. These burdens, which
             were integral to defendants’ commission of the relevant offenses,
             were the proximate cause of a wide range of medical care needs,
             including but not limited to cosmetic surgery for brand removal
             and potentially extensive mental health care.
             With respect to mental health care, the court is prepared to find
             by a preponderance of the evidence that Defendants’ criminal
             conduct proximately caused the full extent of DOS victims’ psy-
             chological and psychiatric care needs, absent compelling
             evidence of a separate and unrelated mental health issue that




                                            17
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 18 of 32 PageID #:
                                  19444




             was not exacerbated by Defendants’ conduct. Defense counsel ar-
             gues that the court should reduce restitution awards to account
             for victims’ psychological harms that predated their involvement
             with DOS and Raniere. (See Raniere Restitution Ltr. at 28.) In
             support, it cites to the Northern District of New York’s decision in
             United States v. Pearson, in which the court reduced victims’ res-
             titution awards “because [they] presented with some mental
             health issues prior to [their] involvement with Defendant, [and]
             the Court cannot conclude that the full extent of the mental
             health interventions [they] now require[] are causally related to
             Defendant’s crimes.” No. 04-cr-340 (TJM), 2009 WL 2383025, at
             *4-5 (N.D.N.Y. July 30, 2009).
             One of the cruelest aspects of Raniere and his co-defendants’ con-
             duct is the way that they preyed upon victims’ preexisting
             vulnerabilities and past traumas in order to debase and control
             them, often under the guise of healing or self-improvement. In
             doing so, the defendants compounded and intensified victims’
             preexisting psychological issues. Thus, even where a victim might
             have benefitted from mental health care absent her participation
             in DOS, the extent and magnitude of her need for such care fol-
             lowing her involvement with DOS may be the proximate result
             of the defendants’ actions. The court is not well positioned to dis-
             entangle the psychological harms that a victim may address
             through the receipt of mental health care, let alone to apportion
             the costs of such care among underlying harms, and it will not
             do so absent clear evidence that the forced labor and/or sex traf-
             ficking of a specific victim did not give rise to the full extent of
             her psychological care needs.
             The court adopts the Government’s recommendation that, where
             a medical provider has given an estimated range for a victim’s
             future psychological or psychiatric care costs, the court should
             award restitution based on the midpoint of that range. (See Gov’t
             Restitution Ltr. at 6.) The court also adopts the Government’s




                                             18
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 19 of 32 PageID #:
                                  19445




             recommendation that the cost of cosmetic surgery for brand re-
             moval be estimated as $2,500, based on the cost quoted to Jane
             Doe 6 by a medical provider specializing in laser skin treatment.
             (See id.) Subject to these parameters, and to the other parameters
             discussed above, the court finds that TVPA victims’ relevant med-
             ical care costs, including mental health care costs, are the
             proximate result of Defendants’ commission of forced labor and
             sex trafficking offenses and are therefore fully compensable.
             b.     Nxivm-Related Costs
             Several TVPA victims seek restitution for expenses incurred as a
             result of their participation in Nxivm and its programming, in-
             cluding tuition for ESP seminars and other Nxivm courses,
             membership fees for Nxivm groups, costs of “EM” sessions, and
             travel and housing costs incurred in order to attend Nxivm pro-
             gramming. As a general matter, the court finds that the
             defendants’ forced labor and sex trafficking offenses, which per-
             tain specifically to DOS, are not the proximate cause of DOS
             members’ costs related to Nxivm programming. Many of the vic-
             tims were recruited into DOS after they had already become
             involved with Nxivm and its programming, and insofar as they
             participated in Nxivm programming during the period in which
             they belonged to DOS, such participation can likely be attributed
             to their involvement with the larger Nxivm community.
             At this time, the court is not aware of any evidence providing a
             direct causal link between the covered offenses and Nxivm-re-
             lated costs. Absent further evidence that the defendants caused
             specific victims to incur specific Nxivm programming, housing,
             or travel costs in connection with the forced labor and/or sex
             trafficking of those victims, the court cannot direct the reim-
             bursement of TVPA victims for these costs.




                                            19
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 20 of 32 PageID #:
                                  19446




             c.     Uncompensated Work
             TVPA victims are entitled to recover the value of their unpaid
             labor and services, calculated as “the greater of the gross income
             or value to the defendant of the victim’s services or labor or the
             value of the victim’s labor as guaranteed under the minimum
             wage and overtime guarantees of the Fair Labor Standards Act.”
             18 U.S.C. § 1593(b)(3). The victims performed labor and ser-
             vices not for a single employer, but rather for the benefit of DOS
             masters to whom they were indentured. Because the Fair Labor
             Standards Act (“FLSA”) applies only to employers who earn at
             least $500,000 in annual revenue, see 29 U.S.C. §
             203(s)(1)(A)(ii), DOS masters are not covered employers and
             their slaves do not have the protection of minimum wage and
             overtime guarantees under the FLSA. Accordingly, the value of
             the victims’ labor must be calculated based on the “gross income
             or value to the defendant.” 18 U.S.C. § 1593(b)(3).
             The Government’s proposed methodology for calculating the
             value of DOS victims’ unpaid labor looks to the nature of the
             work performed, identifies a relevant job classification used by
             New York State’s Bureau of Labor Statistics, and uses the mean
             hourly wage for that job classification from the year in which the
             work was performed to determine the value of the defendant’s
             work on a per-hour basis. (See Gov’t Restitution Ltr. at 8-9.) Thus,
             for example, the Government uses the mean hourly wage for the
             job classification “typist” for a DOS victim who transcribed re-
             cordings, and it uses the mean hourly wage for the job
             classification “executive administrative assistant” for a DOS vic-
             tim who performed administrative work. (See Xxxxx Xxxxxxxx
             Restitution Worksheet; Xxxxx Xxxxxxxx Restitution Work-
             sheet.) The Government uses the mean hourly wage for the job
             classification “personal care and service worker” in order to cal-
             culate the value of DOS victims’ labor for the hours spent “on




                                             20
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 21 of 32 PageID #:
                                  19447




             call” in order to satisfy DOS masters’ expectation of slaves’ 24-
             hour “readiness.” (See Gov’t Restitution Ltr. at 8-9.)
             The court finds that this is a sound methodology for approximat-
             ing the value of DOS victims’ unpaid labor. The nature of the
             victims’ labor and services, and the circumstances under which
             they were obtained, are so unusual that ascribing an appropriate
             job classification and hourly wage is a difficult task. The Govern-
             ment’s recommended method assumes that the victims, if fairly
             compensated, would have been paid the mean salary for the rec-
             ognized category of labor that most closely approximates the
             work they performed. The court agrees that applying this as-
             sumption allows for a reasonable approximation of the value of
             the victims’ labor. If the defense believes that certain job classifi-
             cations recommended by the Government overstate the value of
             the work performed by victims, it may seek to persuade the court
             to use alternative job classifications in applying this methodol-
             ogy.
             Several TVPA victims seek restitution not only for the specific
             work assignments they performed at the behest of their DOS
             masters, but also for their obligation to be “on call” for their DOS
             masters at every hour of the day and night. In connection with
             that responsibility, they seek to recover the mean salary of a “per-
             sonal care and service worker” for every hour of their
             membership in DOS during which they were not performing
             other labor. (See, e.g., Xxxxx Xxxxxxxx Worksheet; Xxxxx
             Xxxxxxxx Worksheet; Xxxxx Xxxxxxxx Worksheet.) DOS slaves
             were subjected to “readiness” drills that required them to re-
             spond to a master’s message within sixty seconds, at any hour, or
             be “punished.” (Trial Tr. at 4378:25-4379:10.) The purpose of
             these drills, they were told, was to ensure that they were “con-
             stantly thinking about [their] commitment to [DOS]” and that
             their masters “knew where [they] were at all times.” (Id. at
             4173:17-21.) A slave’s punishment for failing to meet a master’s




                                              21
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 22 of 32 PageID #:
                                  19448




             “readiness” demands included, in some instances, being paddled
             with a leather strap on her bare bottom. (Id. at 1635:3-6,
             1636:16-1637:1.) DOS masters intended for their slaves to un-
             derstand that their “master was supposed to [be their] highest
             priority and that [their] main job as a slave was to always be
             thinking about them . . . and that should be the highest priority
             always above all other things.” (Id. at 1642:1-5.)
             Raniere questions the appropriateness of compensating victims
             for 24 hours of daily labor. (Raniere Restitution Ltr. at 22.) The
             court recognizes the unusualness of this form of “labor,” which
             defies easy comparison to any kind of work that exists in the reg-
             ular economy. But the idiosyncratic nature of DOS slaves’
             “readiness” obligations does not negate the fact that they de-
             manded lower-ranking DOS members be perpetually available,
             at the exclusion of other activities or opportunities to earn in-
             come. Trial testimony revealed at least one instance in which a
             DOS slave was required to forgo a paid work opportunity because
             it conflicted with her commitment to DOS. (See id. at 4391:12-
             4392:4.) The Second Circuit has recognized that a court may
             award restitution to victims of forced labor on the basis of 24-
             hour workdays for which they worked in an “on call” capacity.
             See United States v. Sabhnani, 599 F.3d 215, 255-57 (2d Cir.
             2010). The court therefore agrees with the Government that DOS
             victims’ restitution awards must compensate them for the exclu-
             sive, around-the-clock nature of their commitment. Moreover,
             because DOS slaves were required to respond to the whims of
             their masters (and, in some cases, to those of Raniere) at any
             hour, without notice, the court finds that their on-call obligations
             were sufficiently analogous to the work of a “personal care and
             service worker” to render that an appropriate job classification.
             d.     Attorneys’ Fees and Legal Costs
             Several TVPA victims have submitted claims for recovery of at-
             torneys’ fees incurred in connection with these proceedings.




                                             22
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 23 of 32 PageID #:
                                  19449




             Insofar as TVPA victims retained legal counsel in connection with
             their involvement with the Government’s investigation, their trial
             testimony, their victim impact statements, their restitution
             claims, or any other matters related to these criminal proceed-
             ings, such costs are fully compensable. Claims for attorneys’ fees
             and legal costs must be supported by statements from victims’
             counsel attesting to the work performed, and by worksheets de-
             scribing the work performed and the hours and rates billed. The
             court will not award restitution for attorneys’ fees and legal costs
             incurred in connection with any separate legal proceedings, in-
             cluding any civil litigation.
             B.     Restitution Pursuant to Mandatory Victim Restitution
             Act of 1996
             1.     Identification of Relevant Victims
             As noted above, the MVRA provides for mandatory restitution for
             persons who are “directly and proximately harmed as a result of
             the commission” of a qualifying criminal offense, including per-
             sons harmed by criminal conduct committed in the course of a
             scheme or conspiracy. 18 U.S.C. § 3663A(a)(2). Qualifying of-
             fenses include crimes of violence and crimes against property,
             including those “committed by fraud or deceit,” insofar as they
             result in either bodily injury or property loss or damage. Id. §
             3663A(c)(1), (b). Identifying individuals who meet the MVRA’s
             definition of “victim” therefore requires that the court examine
             the covered offenses and, where applicable, the criminal conduct
             committed in the course of a criminal conspiracy or scheme to
             determine which putative victims were directly and proximately
             harmed.
             DOS Members: Count Seven, which charged Raniere and cer-
             tain co-defendants with wire fraud conspiracy, is based on the
             defendants’ scheme to obtain lower-ranking DOS members’
             money and property, including rights to assets, credit card au-
             thorizations, and sexually explicit photographs and videos, as




                                             23
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 24 of 32 PageID #:
                                  19450




             “collateral” for their involvement in DOS. (PSR ¶ 21.) Where the
             Government establishes by a preponderance of the evidence that
             an individual was a lower-ranking DOS member who provided
             money or property as “collateral,” that individual is a victim of
             this offense – even if there is insufficient evidence to establish
             that she was also a victim of forced labor or sex trafficking.
             The court finds that DOS slaves were victims of wire fraud con-
             spiracy if they furnished collateral that included monetary assets,
             rights or access to monetary assets, or sexually explicit photo-
             graphs or videos of themselves. However, the court does not find
             by a preponderance of the evidence that every piece of collateral
             furnished by a DOS slave was sufficient to render its provider a
             victim of wire fraud conspiracy. In particular, trial testimony es-
             tablished that DOS members often recorded accusations,
             confessions, or secrets with the potential to harm or embarrass
             their subjects (usually either the DOS member herself or a close
             family member) as collateral. The court does not find, by a pre-
             ponderance of the evidence, that a DOS member was a victim of
             wire fraud conspiracy where the only collateral she provided was
             a statement of this nature.
             Based on these parameters, court finds by a preponderance of the
             evidence that the following individuals are victims of the defend-
             ants’ wire fraud conspiracy, on the basis of trial testimony
             establishing that they secured their membership in DOS by
             providing as “collateral” rights to assets, sexually explicit photo-
             graphs or videos of themselves, or other money or property: Jane
             Doe 5 (“Nicole”) (Trial Tr. at 3852:23-3853:4); Jane Doe 6
             (“Xxxxxx”) (id. at 1723:21-24, 1724:19-21.); Jane Doe 8 (“Jay”)
             (id. at 4329:23-4330:4); Sylvie (id. at 213:19-214:15.); Addi-
             tional Jane Doe 13 (“Sarah”) (id. at 1719:16-20); Additional
             Jane Doe 34 (“Xxxxx”) (id. at 5104:11-17); and Amanda (id. at
             1732:17-22). Notably, the Government has not yet been able to
             establish by a preponderance of the evidence that one of these




                                             24
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 25 of 32 PageID #:
                                  19451




             individuals – Additional Jane Doe 34 – meets the definition of
             “victim” under the TVPA. Additional former members of DOS
             may be entitled to restitution under the MVRA, if the Govern-
             ment provides additional evidence that establishes, by a
             preponderance, that they furnished money or property as collat-
             eral.
             Non-DOS Victims Entitled to Restitution: In addition to crimes
             related to his leadership role in DOS, Raniere was convicted of
             racketeering and racketeering conspiracy on the basis of numer-
             ous criminal predicate acts. To determine the victims of Raniere’s
             racketeering offenses, the court must look to the predicate rack-
             eteering acts which the jury found, beyond a reasonable doubt,
             that Raniere had committed.
             The jury found that Raniere had committed a number of identity
             theft offenses with specific victims: Jane Doe 1, James Loperfido,
             Edgar Bronfman, Sr., Jane Doe 3, and Jane Doe 7. (See PSR ¶¶
             4-5, 10-11, 13, 19.) Accordingly, all of these individuals are vic-
             tims of crimes committed in furtherance of the racketeering
             scheme for which Raniere was convicted. Of these victims, only
             James Loperfido has submitted a claim for restitution.
             Additionally, the jury found that Raniere and others had con-
             spired to alter records for use in an official proceeding, in
             violation of 18 U.S.C. § 1512(k), by directing individuals in the
             Nxivm community to remove portions of videotapes that were to
             be produced in discovery in a copyright lawsuit in the U.S. Dis-
             trict Court for the District of New Jersey. (See PSR ¶ 12.) Nxivm’s
             counterparties requested the production of certain Nxivm vide-
             otapes in support of their claim that Nxivm’s curriculum
             contained false statements and violated consumer protection
             laws. (Id. ¶ 81.) Acting on Raniere’s instructions, Nxivm members
             edited out segments of the videos that contained false claims, and
             Nxivm then produced the edited tapes while claiming that they
             were unedited. (Id. ¶ 82.)




                                             25
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 26 of 32 PageID #:
                                  19452




             At trial, an attorney who had represented three of Nxivm’s coun-
             terparties in the case – Stephanie Franco, her father Morris
             Sutton, and her stepmother Rochelle Sutton (collectively, “the
             Sutton family”) – testified that the litigation lasted nearly fifteen
             years, and the Sutton family has submitted a restitution claim
             seeking over $2.8 million in compensation for litigation costs.
             (See Trial Tr. at 4525:15-20, 4533:12-17; Gov’t Recommenda-
             tions at 2.) The Sutton family’s attorney testified that counsel
             reviewed the edited videotapes in preparation for trial, and that
             counsel suspected the tapes had been altered and considered re-
             taining an expert to opine on that matter. (Trial Tr. at 4501:1-
             17, 4525:25-4527:7.)
             The court finds by a preponderance of the evidence that Nxivm’s
             production of fraudulent evidence in federal district court litiga-
             tion caused pecuniary losses to the Sutton family by requiring
             their lawyers to spend time reviewing the altered tapes and de-
             termining how to proceed in response. However, the court does
             not find that all litigation costs incurred by the Sutton family in
             its civil litigation against Nxivm are the proximate result of the
             alteration of evidence produced in discovery: many of those ex-
             penses would have been incurred even if Nxivm had produced
             the unaltered videotapes.
             Individuals Not Entitled to Restitution: Absent further evi-
             dence, the court finds that individuals other than those identified
             above, more than 80 of whom have submitted restitution claims,
             are not victims of Raniere’s crimes within the meaning of the
             MVRA. This group includes five claimants to whom the Govern-
             ment recommend that the court award restitution: Adrian
             Xxxxxxxxx (“Adrian”), the brother of Jane Does 2, 3, and 4, who
             seeks to recover for uncompensated labor and psychological care,
             and Toni Natalie, Barbara Bouchey, Susan Dones, and Xxxx
             Xxxxxxx, each of whom seeks to recover primarily for litigation




                                              26
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 27 of 32 PageID #:
                                  19453




             costs she incurred in defending against vexatious litigation initi-
             ated by Raniere and his co-conspirators.
             The MVRA provides for restitution only to the victims of a de-
             fendant’s crimes, not to every person victimized by his harmful
             or improper actions. While the jury found that Raniere commit-
             ted forced labor offenses, the charges relating to those offenses
             were specific to uncompensated work performed by members of
             DOS. Accordingly, the uncompensated labor and services per-
             formed by Adrian and other members of the Nxivm community,
             separate from DOS, are outside the scope of the specific crimes
             of conviction, and therefore such harms are not compensable un-
             der the MVRA. Similarly, while the court has seen ample
             evidence that Raniere habitually bullied and terrorized his de-
             tractors and perceived enemies through aggressive litigation,
             funded by co-defendant Clare Bronfman and designed to push
             his critics past the brink of financial ruin, that conduct is not a
             part of any of the crimes of which he was convicted.
             Many other individuals who immersed themselves in the Nxivm
             community, paying for its programming and subscribing to its
             teachings, now seek to recover for the costs of their tuition,
             books, housing, and travel, and for the mental health care that
             they require as they seek to heal the psychological damage
             wrought by the defendants’ conduct. The court recognizes that
             Raniere generated participation in Nxivm’s programs through co-
             ercive and manipulative tactics, which may cause many former
             participants to reasonably believe that they were cheated, misled,
             or pressured into paying the price of participation. The court is
             sympathetic to the financial toll that involvement in the Nxivm
             community took on so many individuals. Even so, the court can-
             not find by a preponderance of the evidence, on the existing
             record, that any such costs were the proximate result of Raniere
             and his co-defendants’ covered offenses. Rather, as the Govern-
             ment acknowledges, “the causal link between the defendants’




                                             27
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 28 of 32 PageID #:
                                  19454




             criminal conduct and any losses incurred as a result of the pur-
             chase of Nxivm classes and travel is too attenuated to satisfy the
             [MVRA’s] proximate cause requirement.” (Gov’t Restitution Ltr.
             at 5.)
             Many, if not all, of these claimants have suffered legitimate losses
             as a result of Raniere and his co-defendants’ abusive, manipula-
             tive, and vexatious conduct. In finding these claimants’ alleged
             losses to be uncompensable under the MVRA, the court makes
             no findings with respect to the validity or severity of their claimed
             losses, and it does not suggest that those losses are unworthy or
             less worthy of restitution in any moral sense. Notwithstanding
             that the harms they have suffered are beyond the scope of those
             losses that the court can order the defendant to redress, the court
             extends to these claimants both its sympathy and its admiration
             for their resilience.
             2.     Identification of Compensable Losses
             Eligible victims under the MVRA are entitled to mandatory resti-
             tution tailored to the nature of the offense. Victims of offenses
             “resulting in damage to or loss or destruction of property” receive
             the return of the property or, “if return is . . . impossible, imprac-
             ticable, or inadequate,” payment equivalent to the property’s
             value. 18 U.S.C. § 3663A(b)(1). Victims of offenses “resulting in
             bodily injury” are entitled to recover the costs of medical care
             and “related professional services” relating to mental health care,
             the costs of “necessary physical and occupational therapy and re-
             habilitation,” and lost income that resulted from the offense. Id.
             § 3663A(b)(2). All victims under the MVRA are entitled to reim-
             bursement for lost income and expenses, including child care and
             transportation, “incurred during participation in the investiga-
             tion or prosecution of the offense or attendance at proceedings
             related to the offense.” Id. § 3663A(b)(4).
             Raniere’s covered offenses under the MVRA – wire fraud conspir-
             acy, and identity theft crimes and conspiracy to alter records for




                                              28
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 29 of 32 PageID #:
                                  19455




             use in an official proceeding in furtherance of a racketeering en-
             terprise – are crimes resulting in damage to, loss of, or
             destruction of property. While all of these crimes deprived vic-
             tims of property, they did so in a manner that defies easy
             valuation. The court finds that the Government has not yet es-
             tablished that any victims under the MVRA are entitled to
             restitution beyond the costs incurred (including lost income) in
             participating in the Government’s investigation, prosecution, and
             related proceedings.
             The collection of DOS members’ collateral through the wire fraud
             conspiracy deprived them of certain tangible assets but also,
             more fundamentally, of control over information and images to
             which they ascribed high personal value. That deprivation of con-
             trol caused them to endure an array of injuries and losses, the
             magnitude of which far exceeds any objective monetary value of
             the property that the defendants obtained. The court believes it
             is within its authority to order the defendants to return qualifying
             MVRA victims’ collateral to them, and it has reason to think that
             such an order would be a relief to victims who continue to worry
             about the exposure of their collateral by Raniere’s remaining ad-
             herents. 7 But the mere return of collateral at this late stage, long
             after its rightful owners submitted to the injustices and indigni-
             ties of DOS membership, would be inadequate compensation for
             the damage wrought. To the extent the Government can provide
             a reasonable approximation of the value of victims’ collateral in
             this context, the court will order restitution in accordance with
             that estimate.




             7
               The court encourages the Government, in its forthcoming submission, to
             address whether it recommends that the court order the return of DOS
             members’ collateral as one aspect of restitution for the victims of the wire
             fraud conspiracy offense. And, if so, the court seeks the Government’s input
             into how such an order may be enforced.




                                                 29
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 30 of 32 PageID #:
                                  19456




             Similarly, identity theft victims were deprived of the exclusive
             use of and control over the use of their identity. That “property”
             cannot feasibly be returned to them, and the mere cessation of
             the theft is inadequate to compensate for the injuries that it
             caused. Accordingly, if the Government can reasonably approxi-
             mate the value of the damage incurred by Loperfido, he is
             entitled to recover an amount commensurate with that value, in
             addition to reimbursement for lost income and costs incurred
             through his participation in the investigation and trial.
             Finally, while the court finds that Nxivm’s production of altered
             videotapes in response to a civil litigation discovery request
             caused the Sutton family’s lawyers to expend additional time on
             the case, and, therefore, caused the Sutton family to incur addi-
             tional legal costs, the Government has not yet provided a
             reasonable approximation of those costs. The court cannot dis-
             cern from the current record, including the Sutton family’s
             restitution claim and supporting documentation, what portion of
             the Sutton family’s legal costs is directly attributable to the un-
             lawful alteration of evidence. Thus, in order for the court to
             award restitution to the Sutton family on this basis, the Govern-
             ment must reasonably approximate the amount of losses
             incurred by the Sutton family as a proximate result of this predi-
             cate racketeering act.
                    CONCLUSION
             In light of the above analysis, the court directs the parties to file
             supplemental letter briefs, and to append to them any relevant
             supplemental evidence, that address the following issues: (1)
             whether a victim of a predicate racketeering act that is a covered
             offense under § 1593 is a victim within the meaning of the TVPA;
             (2) whether Jane Doe 2 is entitled to restitution under 18 U.S.C.
             § 2259; (3) whether there is sufficient evidence to establish that
             any of the claimants discussed in section III.A.1.b. of this opinion
             are victims under the TVPA; (4) whether any qualifying TVPA




                                              30
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 31 of 32 PageID #:
                                  19457




             victims are entitled to recover for Nxivm-related costs; and (5)
             whether appropriate methodologies exist by which the court can
             reasonably approximate the value of MVRA victims’ lost prop-
             erty. The parties may address any additional issues that they
             consider relevant to the subject of restitution including, if appli-
             cable, any evidence that they believe the court overlooked in the
             foregoing analysis. The court asks that the Government submit a
             revised set of restitution recommendations that is consistent with
             this analysis, with the underlying bases for all recommended
             awards explained in detail.
             Accordingly, the court DIRECTS the parties to submit supple-
             mental letter briefs, along with any necessary exhibits and
             affidavits, according to the following schedule:
                 •   The Government shall submit a letter brief, along with a
                     revised set of restitution recommendations, by June 21,
                     2021.
                 •   Mr. Raniere shall submit a responsive letter brief by July
                     5, 2021.
                 •   The Government may submit a reply letter brief by July
                     9, 2021.
             The court will hold a supplemental sentencing hearing for Mr.
             Raniere during the week of July 12 or July 19, 2021. At that hear-
             ing, the court will hear argument from the parties, if needed, and
             order restitution. The parties are DIRECTED to contact the court’s
             Deputy to schedule the hearing. Defense counsel is DIRECTED to
             inform the court by May 28, 2021 whether Mr. Raniere consents
             to the hearing being held by videoconference. 8 The Government


             8
               See Pub. L. No. 116-136, § 15002(b)(2), (4) (allowing for sentencings in
             criminal cases to be conducted by videoconference if the chief judge of the
             court “specifically finds … that … felony sentencings under Rule 32 of the




                                                31
Case 1:18-cr-00204-NGG-VMS Document 1036 Filed 05/28/21 Page 32 of 32 PageID #:
                                  19458




                is DIRECTED to provide to the court by May 28, 2021 its recom-
                mended redactions to this Memorandum & Order, so that the
                court may file it on the public docket without exposing victims’
                identities or sensitive personal information.
       SO ORDERED.


       Dated:       Brooklyn, New York
                    May 21, 2021

                                                                 _/s/ Nicholas G. Garaufis_
                                                                 NICHOLAS G. GARAUFIS
                                                                 United States District Judge




                Federal Rules of Criminal Procedure cannot be conducted in person with-
                out seriously jeopardizing public health and safety” and the district judge
                in the case finds that delaying sentencing would seriously harm the inter-
                ests of justice, so long as the defendant consents to the proceedings being
                held by video teleconference); U.S. District Court for the E.D.N.Y. Admin.
                Order Nos. 2021-4-1, 2021-5 (finding that sentencing proceedings should
                continue to be held remotely to the maximum extent possible and author-
                izing individual judges to hold such proceedings by videoconference).




                                                   32
